Case 2:18-ml-02814-AB-FFM Document 199-32 Filed 02/26/19 Page 1 of 4 Page ID
                                 #:6572




                EXHIBIT 55
                                                                                                                                                                                                                 EXHIBIT 55-1
                                 Case 2:18-ml-02814-AB-FFM Document 199-32 Filed 02/26/19 Page 2 of 4 Page ID
                                                                  #:6573




                    Severity Ranking - Dave Garrett - Campaign Prevention Specialist



                                Severity                                                                     Occurrence in the Field

                 General definition                               Ranking          Very Low                         Low                     Med                       High

                 No effect                                             1          .:.:.:.:.:No.te.a.nist.:.:••:.:::Nn.:.:e.aiust••:.:::Nn.:.:e.aiust••:.:.:.:.:.:No• :.:ca:ius.:.:.:::.
                 Fit/finish squeak noticed by
                 discriminating customer                               2          :::::No_:pau:s_::: :::Nn_:cau:s:: :::Nn_:ca:us:: ::::::No:::ca.ns:::::
                 Fit/finish/squeak noticed by
                 average custom er                                     3          . . .....:Nn;. :eall:s.;. . . . ....:No.•. •¢all:$L .....:No.•. •¢all:$L ···········:No•./¢a:lls.•.·. . ·
                 Fit/finish/squeak noticed by
                m t custom e rs
                    OS                        4 :::::::.::No.:::.Qall:$r:::: :.:.;:No.:::.Qa:U:$;;::: :.:.;:No.::::caU:$._.:: :::::::.:.::No.:::.Q.:1:1:$.• : : : :
                1-------------+--------~---~"""""----
                C om fort or convenience item
                 performance is reduced.                               5                      3
                 Inoperable com fort or
                 convenience items                                     6
                 Vehicle primary function has                                                                                                                                                     "B/M/G/T" recalls
                 reduced level perf.                                   7

                 Loss of prim aryfunction                              8
                 Hazardous with warning &
                 Government Req.(YC)                                   9                                                                                                                          Emissions
                 Hazardous without warning                                                                                                                                                    }   Safety
                 & Government Req. (YC)                                10



        Prepared on behalf of the Core/Getrag/Ford/LuK Team: J.Kirchhoffer                                                                        Confidential - Preliminary Drnft
<
a
ifJ     Jkirchho@ford.com ;Ext: :221-903-2192                                                                                                                                       15.06.2007                        1
---.I
 I
0
0
V.
00
00
V.
0
                                                                                                                                            EXHIBIT 55-2
                              Case 2:18-ml-02814-AB-FFM Document 199-32 Filed 02/26/19 Page 3 of 4 Page ID
                                                               #:6574




                       1. Definitions for Severity 10


                       I suggest starting with the Fresh Eye rating table from the Campaign Prevention process guide. Severities
                       are shown in this table, with some brief explanations.
                       Severity 10 items are items that could cause a:
                       ►   "Hazardous (condition) without warning" or
                       ►   Designated by a "Government Requirement (regulation)".


                       In practice, I urge engineers to increase the FMEA severity to 10, for any failure mode that has caused a
                       previous Safety or Emission related recall.


                       [ If you are interested in a description of the 1,2,3 ratings used in the table, they stand for the following:
                                      Issue classification:
                                                 -Class 1 - Condition that in the judgment of the CPS could potentially result in a Field
                                                 Service Action (safety, emissions, regulatory, and customer satisfaction).
                                                 -Class 2 - Condition that in the judgment of the CPS will potentially result in warranty
                                                 costs I repairs or cause high customer irritation.
                                                 -Class 3 - Condition that in the judgment of the CPS would be more of a customer
                                                 dislike or high mileage wear-out item (non-Safety). J


         Prepared on behalf of the Core/Getrag/Ford/LuK Team: J.Kirchhoffer                     Confidential - Preliminary Drnft
<
a
ifJ      Jkirchho@ford.com ;Ext: :221-903-2192                                                                   15.06.2007                   2
---.I
 I
0
0
V.
00
00
V.
......
                                                                                                                               EXHIBIT 55-3
                               Case 2:18-ml-02814-AB-FFM Document 199-32 Filed 02/26/19 Page 4 of 4 Page ID
                                                                #:6575




                           2. Definition of "Unexpected Vehicle Movement"


                           My definition of "Unexpected Vehicle Movement" includes the following systems / components:
                           ► Shifter system (column/ floor shifter, shift cable, shifter interlock cable, PRNDL graphic on
                           column shifters, override for Brake-Shift Interlock system, key-removal solenoid, transmission
                           brackets, fasteners)
                           ► Park System (outer manual lever, rooter-comb, detent spring/roller, park rod, park gear, park
                           abutment, park shaft, fasteners, critical case features I dimensions.
                           ►   Transmission Range Sensor (TRS)
                           ►   Main Control
                           ►   Powertrain or Transmission Control module
                           ►   Transmission internal wiring


                           Where there is:
                           ►   Inappropriate movement in Park or Neutral
                           ►   Selected shifter detent does not match transmission detent
                           ►   Vehicle starts in some gear other than Park or Neutral
                           ►   "Back-up" lights do not operate when Shifter/Transmission is in Reverse.




        Prepared on behalf of the Core/Getrag/Ford/LuK Team: J.Kirchhoffer                  Confidential - Preliminary Drnft
<
a
ifJ     Jkirchho@ford.com ;Ext: :221-903-2192                                                              15.06.2007            3
---.I
 I
0
0
V.
00
00
V.
N
